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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------X                              11/16/21
                                                                   1 /28/21
                                                                   10
                                                                   10/28/21
SHAOXUAN ZHANG,                     :
                                    :
                Plaintiff,          :
                                    :             21 Civ. 8657
     - against -                    :
                                    :
ATERIAN, INC., YANIV SARIG, et al., :
                                    :
                Defendants.         :
-----------------------------------X
TYLER MAGNUS,                       :
                                    :
                Plaintiff,          :
                                    :             21 Civ. 9301
     - against -                    :
                                    :                  ORDER
ATERIAN, INC., YANIV SARIG, et al.,:
                                    :
                Defendants.         :
-----------------------------------X

VICTOR MARRERO, United States District Judge.

     Upon review of the complaints and other papers filed

with the Court in connection with the two cases captioned

above, the Court notes that in all material respects the

papers   describe   substantially       similar    underlying     events

arising out of the same or similar operative facts, and that

the parties are substantially the same parties. Accordingly,

it is hereby

     ORDERED     that   the    Clerk    of   Court    is   respectfully

requested   to   consolidate    these    actions     for   all   pretrial

purposes; and it is further



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     ORDERED   that   all   filings    in   connection    with   the

consolidated action be docketed against the lower numbered

case, 21 Civ. 8657; and it is further

     ORDERED that the Clerk of Court close the referenced

higher numbered case, 21 Civ. 9301, as a separate action and

remove it from the Court’s docket.



SO ORDERED:

Dated:    New York, New York
          16 November 2021




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